Case 7:20-mj-01593 Document1. Filed on-08/20/20 in TXSD Page 1 of 2

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= FILED Tee |
- UNITED STATES DISTRICT COURT
AUG 2 0 2020 for the
David J. Bradley, Clerk Southern District of Texas
be. . ;
— United States of America }
v. )
Oziel Cantu ) Case No. M~ 20- (SA a-™
YOB: 1974/USC
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the-following is true to the best of my knowledge and belief.
On or about the date(s) of 08/19/2020 ___in the county of Hidalgo in the
Southern District.of Texas , the defendant(s) violated: ,
Code Section Offense Description
18 U.S.C. 201 Bribery of Public Officials and Witneses

This criminal complaint is based on these facts:

See Attached Affidavit of probable cause

See Attachment A

@ Continued on the attached sheet.

(S/ Danny Cantu

Complainant's signature ©

 

Submitted by reliable electronic means, swom to and attested to Danny Cantu, Special Agerit DHS OIG.
telephonically per Fed. R. Cr.4.1, and proable cause found on: ——— - . =

 

Printed name and title.

Approved: by AUSA Frances Blake

Date: S/20/Z5 7 $' 23h, - . . :
Zo V Judge's signature

. City and state: McAllen, Texas Juan F. Alanis, U.S. Magistrate Judge
, Printed name and title

   

 
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ATTACHMENT A

On. June 9, 2020, the Department of Homeland Security (“DHS”), Office of Inspector
General (“OIG”), initiated a joint investigation with Customs and Border Protection, Office of
‘Professional Responsibility (“OPR”), regarding a law enforcement officer facilitating the
importation of illegal narcotics from Mexico into the United States in exchange for a monetary
payment. The individual was later identified as Customs and Border Protection Officer (““CBPO”)
Oziel Cantu, at the Pharr Port of Entry (“POE”).

_ On August 12, 2020, CBPO Oziel Cantu contacted DHS OIG undercover agent (““UCA-

1”) via WhatsApp and requested a meeting. On August 17, 2020 and on August 18, 2020, UCA-1
met with CBPO Oziel Cantu. During the meetings, CBPO Oziel Cantu discussed smuggling
narcotics from Mexico into the United States through the Pharr POE. CBPO Oziel Cantu stated
that in exchange for cash payment of $15,000.00, he would assist a vehicle concealed with 40
kilograms of cocaine make entry into the United States through the Pharr POE. CBPO Oziel Cantu
told UCA-1 to have the vehicle containing narcotics make entry into the United States through the
Pharr POE in the early morning of August 19, 2020. UCA-1 advised CBPO Oziel Cantu that the
drug laden vehicle would be a white Chevrolet Silverado and the driver would place a red hardhat
on the dashboard near the driver side: CBPO Oziel Cantu told UCA-1 he would provide
instructions via WhatsApp regarding the method and the time the vehicle needed to make entry on
August 19, 2020.

On August 19, 2020, at approximately 5:39 a.m., CBPO Oziel Cantu instructed UCA-1
that the vehicle containing narcotics was going to be clear to pass inspection at the Pharr POE. A
few minutes later, at approximately 5:46 a.m., CBPO Oziel Cantu further instructed that 3 ~
inspection lanes would be open and that the vehicle carrying narcotics needed to proceed through
inspection lane 1 as soon as the Pharr POE was open. Shortly thereafter, an undercover agent
(“UCA-2”), driving a white Chevrolet Silverado concealing 10 bricks of sham cocaine, weighing
approximately 11.35 kilograms, made entry into the United States at the Pharr POE through
inspection lane 1. | .

On August 19, 2020, at approximately 4:10 p.m., CBPO Oziel Cantu met with UCA-1.
During this meeting, CBPO Oziel-Cantu collected the’ $15,0000.00 cash payment for facilitating

the narcotics making entry into the United States.
